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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA




 DAMIEN GUEDES,

                     et al.
                                                Case No. 1:18-cv-02988-DLF
                                                The Hon. Judge Friedrich

                   Plaintiffs,

        v.

 BUREAU OF ALCOHOL, TOBACCO
 FIREARMS, AND EXPLOSIVES,
                et al.


                   Defendants.




                                 [PROPOSED] ORDER


       In light of Defendants’ Motion for Summary Judgment, Plaintiffs’ Cross-Motion

for Summary Judgment, and the responses and replies thereot, it is HEREBY

ORDERED that:

   1) Defendants’ Motion for Summary Judgment is GRANTED; and

   2) Plaintiffs’ Motion for Summary Judgment is DENIED.

Judgment is hereby entered for Defendants.


IT IS SO ORDERED.


___________________________________              ___________________________
(Date)                                           United States District Judge
